   Case: 1:15-cv-10109 Document #: 214 Filed: 05/25/18 Page 1 of 2 PageID #:1578


                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
NIRAV THAKKER                                 )
                                              )
                        Plaintiff,            )              Case No.: 1:15-cv-10109
                 v.                           )
                                              )              District Judge John J. Tharp Jr.
OCWEN LOAN SERVICING, LLC, a Delaware )
limited liability company, ALTISOURCE         )              Magistrate Judge Maria Valdez
SOLUTIONS, INC., a Delaware corporation;      )
ALTISOURCE PORTFOLIO SOLUTIONS, S.A., )
a Luxembourg corporation, BAXOL               )
PROPERTIES, LLC, an Indiana limited liability )
company and LAUDAN PROPERTIES, LLC, an )
Ohio limited liability company,               )
                                              )
                        Defendants.           )

                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on June 6, 2018, at 9:00 a.m. or as soon thereafter as counsel

may be heard, I shall appear before the Honorable Judge John J. Tharp, Jr., in the courtroom usually

occupied by him in Room 1419 at the Dirksen Federal Building, 219 S. Dearborn Street, Chicago,

Illinois, and shall then and there present Defendant’s Motion to Substitute Counsel, a copy of

which is served upon you.

                                                     Respectfully submitted,

                                                     ALTISOURCE SOLUTIONS, INC.

                                                     By:     /s/ Adrian Mendoza

Adrian Mendoza- ARDC# 6225634
Angela Iaria – ARDC #6300963
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   Case: 1:15-cv-10109 Document #: 214 Filed: 05/25/18 Page 2 of 2 PageID #:1579


       I, Adrian Mendoza, attorney, certifies that he caused the foregoing Notice of Motion, to
be served upon:


 Nick Heath Wooten                                Stephen T. Sotelo
 Nick Wooten, LLC                                 The Law Office of Thomas J. Homer, P.C.
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 Conway, AR 72034                                 Naperville, IL 60563

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 Steven Walter Mastrantonio                       Nathan Pear Karlsgodt
 Niekamp, Weisensell, Mutersbaugh &               McKnight, Kitzinger & Pravdic, LLC
 Mastrantonio, LLC                                117 North Jefferson Street, Suite 301
 23 S. Main Street, Third Floor                   Chicago, IL 60661
 Akron, OH 44308

Via the Court’s CM/ECF system before 5:00 p.m. on this 25th day of May, 2018.

                                                           /s/ Adrian Mendoza




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